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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DOUGLAS ARTHUR WOLSHLAGER,
                                                              Case No. 1:19-cv-293
               Plaintiff,
                                                              Hon. Robert J. Jonker
v.

JEFF GAST, et al.,

               Defendants.
                                     /

                             REPORT AND RECOMMENDATION

               This is a civil action brought by pro se plaintiff Douglas Arthur Wolshlager. For

the reasons set forth below, this complaint should be dismissed.

               I.      Discussion

               A.      Complaint

               Plaintiff has filed a 15-page complaint against 20 defendants. Plaintiff attempts to

act as a private prosecutor, claiming that on July 27, 2015, he was kidnapped after defendant Ben

Eberly asked to see his “driver’s licence.” Compl. (ECF No. 1, PageID.2). Plaintiff claims that

he is not required to have a license, relying on his self-styled “Common Law Vehicular Judicial

Notice Constitutional Drivers License” which grants him, as a “SOVEREIGN, COMMON LAW

CITIZEN” the right to travel and “NOT BE INFRINGED”. Exhibit (ECF No. 1-1, PageID.17-

18). Plaintiff seeks damages in excess of $39 million. Id. at PageID.13. He also wants the State

of Michigan “to update its records removing prosecutor [i.e., plaintiff] from its jurisdiction” and

for this Court to dismiss a number of judgments against him in an “inferior [i.e., state] court.” Id.
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               B.      Lack of jurisdiction

               The Court should dismiss this complaint for lack of subject matter jurisdiction.

“[A] district court may, at any time, sua sponte dismiss a complaint for lack of subject matter

jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure when the allegations

of a complaint are totally implausible, attenuated, unsubstantial, frivolous, devoid of merit, or no

longer open to discussion.” Apple v. Glenn, 183 F.3d 477, 479 (6th Cir. 1999). Plaintiffs’

complaint is totally implausible, unsubstantial, frivolous, devoid of merit, and no longer open to

discussion. Plaintiff complaint arises from his alleged rights as a sovereign citizen. As one court

explained,

               The “sovereign citizen” movement is a highly disperse, antigovernment
       movement. . . In general, sovereign citizens believe that the United States
       Government, including the IRS, is a fraud and that “they, the sovereign citizens,
       retain an individual common law identity exempting them from the authority of
       those fraudulent government institutions.”

United States v. Gooch, 595 Fed. Appx. 524, 527 fn.1 (6th Cir. 2014).

               Contrary to plaintiff claims, he is not exempt from state law (such as the

requirement to have a driver’s license) and has no authority to prosecute any of the 20 named

defendants. As one court observed, sovereign citizens’ “arguments and outlandish legal theories

have been consistently rejected.” Young v. PNC Bank, N.A., No. 3:16CV298/RV/EMT, 2018 WL

1251920 at *2 (N.D. Fla. March 12, 2018) (listing cases). See also, Abdullah v. United States, No.

1:16-cv-1290, 2017 WL 2485185 at *2 (May 17, 2017), R&R adopted, 2017 WL 2472591 (W.D.

Mich. June 8, 2017) (“the sovereign citizen and other frivolous theories espoused by plaintiff have

been repeatedly rejected by the federal courts and constitute a waste of court resources”) (listing

cases). Accordingly, this action should be dismissed for lack of jurisdiction. See Apple, 183 F.3d

at 479; Fed. R. Civ. P. 12(b)(1).



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               II.    RECOMMENDATION

               For these reasons, I respectfully recommend that plaintiff’s complaint be

DISMISSED.

Date: May 2, 2019                            /s/ Ray Kent
                                             Ray Kent
                                             U.S. Magistrate Judge


ANY OBJECTIONS to this Report and Recommendation must be served and filed with the Clerk
of the Court within fourteen (14) days after service of the report. All objections and responses to
objections are governed by W.D. Mich. LCivR 72.3(b). Failure to serve and file written objections
within the specified time waives the right to appeal the District Court’s order. Thomas v. Arn, 474
U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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